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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




ADAM C. MILLER,                                  )   CASE NO. 1:19-CV-652
                                                 )
               Plaintiff,                        )   JUDGE DAN AARON POLSTER
                                                 )
       vs.                                       )   ORDER
                                                 )
LORAIN COUNTY COMMUNITY                          )
COLLEGE, et al.,                                 )
                                                 )
               Defendant.                        )


       The Court has been advised by counsel of record that the above-captioned case has been

settled. Accordingly, this case is dismissed with prejudice, each party to bear its own costs.

Notice by the Clerk of Courts being hereby waived. The Case Management Conference

scheduled for June 17, 2019 at 1:00PM is canceled.

       The Court retains jurisdiction to ensure that the settlement agreement is executed.


       IT IS SO ORDERED.


                                             /s/ Dan Aaron Polster June 13, 2019
                                             DAN AARON POLSTER
                                             UNITED STATES DISTRICT JUDGE
